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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:21-cv-22914-DPG

 JESUS GONZALEZ,

        Plaintiff,

 v.

 THE FRESH MARKET, INC.
 d/b/a The Fresh Market, Coconut Grove

       Defendant.
 _____________________________________/

                               JOINT NOTICE OF SETTLEMENT

        Plaintiff, Jesus Gonzalez (“Plaintiff”) and Defendant, The Fresh Market, Inc., d/b/a
 The Fresh Market, Coconut Grove ("Defendant") (collectively referred to as the "Parties"),
 hereby advise the Court that they have reached an agreement regarding settlement of this matter.
 The Parties are working together to finalize the settlement documents and dismissal pleadings
 and anticipate that they will be in the position to file a joint stipulation for voluntary dismissal
 with prejudice together with a proposed order of dismissal within the next 30 days. As a result,
 the Parties request a stay of all case deadlines.
        Jointly submitted this 1st day of October, 2021.

 J. COURTNEY CUNNINGHAM, PLLC                        GRAYROBINSON, P.A.
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 By: /s/ J. Courtney Cunningham _____                By:     /s/ Anastasia Protopapadakis
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